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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
 vs.                                                §            Case No. 4:04cr116.10
                                                    §            (Judge Schell)
 MICHAEL TYRONE PRICE                               §

                             REPORT AND RECOMMENDATION
                          OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on May 8, 2009 to determine whether Defendant violated his supervised release.

 Defendant was represented by Denise Benson. The Government was represented by Ernest

 Gonzalez.

         On March 29, 2005, Defendant was sentenced by the Honorable Paul Brown to thirty-six (36)

 months’ custody followed by four (4) years of supervised release for the offense of Conspiracy to

 Manufacture, Distribute or Possess with Intent to Manufacture, Distribute or Dispense Cocaine Base.

 On April 21, 2008, Defendant completed his period of imprisonment and began service of his

 supervised term.

         On January 22, 2009, the U.S. Pretrial Services Officer filed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated the following Mandatory

 condition: (1) the defendant shall refrain from any unlawful use of a controlled substance. The

 defendant shall submit to one drug test within 15 days of release from imprisonment and at least two

 periodic drug tests thereafter, as directed by the court. The petition also alleged violations of several

 standard and special conditions. The Government moved to withdraw the alleged violations of the

 standard and special conditions.
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            The petition alleges that Defendant committed the following acts with regard to the

     mandatory condition: (1) The defendant submitted a urine specimen at Sharp Focus, Denton, Texas

     on July 23, 2008, which tested positive for cocaine. He admitted verbally and in writing to U.S.

     Probation Officer Linda Werner to said drug use on July 28, 2008.

            Prior to the Government putting on its case, Defendant entered a plea of true to the violation.

     The Court recommends that Defendant’s supervised release be revoked.

                                          RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release. The

     Court recommends that Defendant be committed to the custody of the Bureau of Prisons to be

     imprisoned for a term of six (6) months followed by a term of supervised release of forty-two (42)

     months with the first 180 days of supervised release being served in community confinement at a

     halfway house. The Court recommends that the Defendant be sent to Volunteers of America, a

     halfway house in Fort Worth, Texas. After the Court announced the recommended sentence,

     Defendant executed the consent to revocation of supervised release and waiver of right to be present

     and speak at sentencing.

            Failure to file written objections to the proposed findings and recommendations contained
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     in this report within ten days shall bar an aggrieved party from attacking the factual findings on

     appeal. Thomas v. Arn, 474 U.S. 140, 106 (1985); Nettles v. Wainwright, 677 F.2d 404, 408 (5th

     Cir. 1982) (en banc).


             SIGNED this 8th day of May, 2009.




                                             ___________________________________
                                             AMOS L. MAZZANT
                                             UNITED STATES MAGISTRATE JUDGE
